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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.



                     MEMORANDUM IN SUPPORT OF JOINT MOTION
                         TO TEMPORARILY STAY ACTION

        Plaintiffs, Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”, and

 together with Intersections, “Plaintiffs”) and Defendants Joseph C. Loomis and Jenni M. Loomis

 (collectively, “Defendants”) hereby submit this Memorandum in support of their Joint Motion to

 Temporarily Stay Action pending determination of the motion to approve settlement agreement

 filed by the parties in the United States Bankruptcy Court for the District of Arizona (the

 “Bankruptcy Court”).

        On April 6, 2011, the Plaintiffs, the Defendants and various other parties related to the

 Defendants entered into a Settlement Agreement. A copy of the Settlement Agreement is

 attached as Exhibit A. On April 7, 2011, the parties filed a motion with the United States

 Bankruptcy Court for the District of Arizona seeking approval of the settlement. A copy of the

 motion is attached hereto as Exhibit B. The Settlement Agreement fully resolves all claims and

 counterclaims in this action. The parties anticipate that the settlement will be approved by the

 Bankruptcy Court, and that the actions to be taken pursuant to the settlement will be completed,
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 by June 30, 2011. Accordingly, the parties request an immediate stay of this action until

 June 30, 2011.

         The parties have filed this motion in a good faith effort to assist in the efficient

 administration of this action. A stay is warranted to avoid an unnecessary waste of judicial

 resources and unnecessary expense to the parties.


 Dated: April 7, 2011                         Respectfully submitted,

                                              By:        /s/
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 7th day of April, 2011, I caused the foregoing Memorandum

 in Support of Joint Motion to Temporarily Stay Action to be electronically filed with the Clerk of

 the Court using the CM/ECF system, which will then send a notification of such filing (NEF) to

 the following:

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